24 F.3d 68
    Michael P. GALLAGHER, Petitioner-Appellant,v.Robert D. HANNIGAN, Warden;  Kansas Department ofCorrections;  Attorney General of Kansas;  JoanFinney, Governor and Kansas ParoleBoard, Respondents-Appellees.
    No. 93-3397.
    United States Court of Appeals,Tenth Circuit.
    April 15, 1994.
    
      Before MOORE, ANDERSON, and KELLY, Circuit Judges.
    
    ORDER
    
      1
      Michael P. Gallagher has filed a motion to proceed without payment of fees and an application for a certificate of probable cause.  The district court dismissed the petition because petitioner had failed to first raise in the state courts the issues asserted in the federal habeas action.  There is no question that conclusion is correct.
    
    
      2
      Petitioner has not made a substantial showing of the denial of an important federal right by demonstrating that the issues raised are debatable among jurists, that a court could resolve the issues differently, or that the questions deserve further proceedings.  Barefoot v. Estelle, 463 U.S. 880, 103 S.Ct. 3383, 77 L.Ed.2d 1090 (1983).  The certificate of probable cause is therefore DENIED and the appeal is DISMISSED.  The mandate shall issue forthwith.
    
    